 Case 1:21-cv-00586-APM Document 19 Filed 07/01/21 Page 1 of 4




                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
Representative ERIC SWALWELL               )
174 Cannon House Office Building           )
U.S. House of Representatives              )
Washington, D.C. 20515,                    )
                                           )
               Plaintiff,                  )
                                           )
        v.                                 )
                                           )
DONALD J. TRUMP                            )
(in his personal capacity)                 )
The Mar-A-Lago Club                        )
1100 S. Ocean Blvd.                        ) Case No. 1:21-cv-00586-APM
Palm Beach, FL 33480,                      )
                                           ) JURY TRIAL DEMANDED
DONALD J. TRUMP JR.                        )
425 E. 58th Street                         )
Apt. 12 CD                                 )
New York, NY 10022,                        )
                                           )
Representative MO BROOKS                   )
(in his personal capacity)                 )
2185 Rayburn House Office Building         )
U.S. House of Representatives              )
Washington, D.C. 20515,                    )
                                           )
and                                        )
                                           )
RUDOLPH GIULIANI                           )
Rudolph W. Giuliani, PLLC                  )
445 Park Avenue                            )
18th Floor                                 )
New York, NY 10022,                        )
                                           )
               Defendants.                 )
                                           )

            PLAINTIFF’S MOTION FOR DEFAULT JUDGMENT
                 AGAINST DEFENDANT MO BROOKS
           Case 1:21-cv-00586-APM Document 19 Filed 07/01/21 Page 2 of 4




       Plaintiff Eric Swalwell, through undersigned counsel, and pursuant to Fed. R. Civ. P. 12

and 55, moves this Court for a default judgment against Defendant Mo Brooks for his failure to

timely respond to the complaint in this matter. In support of this motion, Plaintiff states as

follows:

       Plaintiff filed this lawsuit on March 5, 2021 (ECF Dk. No. 1). Defendants Donald J.

Trump, Donald Trump Jr., and Rudolph Giuliani each agreed to waive service of the summons

and complaint, and the parties agreed to a briefing schedule for these Defendants’ motions to

dismiss, which Defendant Giuliani filed on May 17 (ECF Dk. No. 13) and Defendants Trump

and Trump Jr. filed on May 24 (ECF Dk. No. 14). Plaintiff’s combined opposition to these

motions currently is due by July 8 and reply briefs are due by July 22.

       After some effort, Defendant Brooks was served with the summons and complaint on

June 6, 2021 “at [his] dwelling or usual place of abode with someone of suitable age and

discretion who resides there.” Fed. R. Civ. P. 4(e)(2)(B). The affidavit of service was filed on

June 8. ECF Dk. No. 18. Under the federal rules, Brooks was required to serve his response

within 21 days of service of the complaint, in this case no later than June 27, 2021. See Fed. R.

Civ. P. 12(a)(1)(A)(i). To date, Brooks has not done so.

       “When a party against whom a judgment for affirmative relief is sought has failed to

plead or otherwise defend, and that failure is shown by affidavit or otherwise, the clerk must

enter the party’s default.” Fed. R. Civ. P. 55(a). Where, as here, the complaint does not allege

damages in an amount certain, the moving party must apply to the Court directly for a default

judgment. See Fed. R. Civ. P. 55(b)(2). Plaintiff does so now.




                                                 2
            Case 1:21-cv-00586-APM Document 19 Filed 07/01/21 Page 3 of 4




          WHEREFORE, Plaintiff hereby moves this Court for a default judgment against

Defendant Mo Brooks for his failure to timely respond to the summons and complaint in this

matter.

                                             Conclusion

          For the foregoing reasons, Plaintiff requests that this motion be granted and the requested

relief ordered.



Dated: July 1, 2021                                    Respectfully submitted,

        /s/ Philip Andonian                                    /s/ Matthew Kaiser
CALEBANDONIAN PLLC                                     KAISERDILLON PLLC
Philip Andonian (D.C. Bar No. 490792)                  Matthew Kaiser (D.C. Bar No. 486272)
Joseph Caleb (D.C. Bar No. 495383)                     Sarah Fink (D.C. Bar No. 166663)
1100 H Street, N.W., Ste. 315                          1099 Fourteenth Street, N.W., 8th Fl.
Washington, D.C. 20005                                 Washington, D.C. 20005
Tel: (202) 953-9850                                    Tel: (202) 640-2850
Email: phil@calebandonian.com                          Email: mkaiser@kaiserdillon.com
        joe@calebandonian.com                                  sfink@kaiserdillon.com


        /s/ Barry Coburn
COBURN & GREENBAUM PLLC
Barry Coburn (D.C. Bar No. 358020)
Marc Eisenstein (D.C. Bar No. 1007208)
1710 Rhode Island Avenue, N.W., 2nd Fl.
Washington, D.C. 20036
Tel: (202) 643-9472
Email: barry@coburngreenbaum.com
        marc@coburngreenbaum.com

Attorneys for Plaintiff Eric Swalwell




                                                   3
         Case 1:21-cv-00586-APM Document 19 Filed 07/01/21 Page 4 of 4




                                     Certificate of Service

       I hereby certify that on this 1st day of July, 2021, the foregoing Motion for Default

Judgment Against Defendant Mo Brooks was served upon all parties of record by the Court’s

CM/ECF system.

                                                              /s/ Philip Andonian
                                                              Philip Andonian




                                                4
